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18                                UNITED STATES DISTRICT COURT

19                              NORTHERN DISTRICT OF CALIFORNIA

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21   DJENEBA SIDIBE, JERRY JANKOWSKI, SUSAN Case No. 3:12-cv-4854-LB
     HANSEN, DAVID HERMAN, OPTIMUM
22   GRAPHICS, INC., and JOHNSON POOL & SPA, on NOTICE OF FILING UNDER SEAL
     Behalf of Themselves and All Others Similarly PLAINTIFFS’ OPPOSITION TO
23   Situated,                                     SUTTER’S MOTION TO EXCLUDE
                                                   TESTIMONY OF DR. TASNEEM
24                               Plaintiffs,       CHIPTY
25          vs.
26   SUTTER HEALTH,
27                                Defendant.
28


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1           Please take notice that Plaintiffs have filed their Opposition to Sutter’s Motion to Exclude

2     Testimony of Dr. Tasneem Chipty and the Declaration of Matthew L. Cantor and Accompanying

3     Exhibits in Opposition to Sutter’s Motion to Exclude Testimony of Dr. Tasneem Chipty,

4     provisionally under seal, at docket 1082.

5

6     DATED: June 18, 2021
                                                  Respectfully submitted,
7

8                                                 /s/ Suneel Jain
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          Case 3:12-cv-04854-LB Document 1083 Filed 06/18/21 Page 3 of 3



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